                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            CIVIL NO. 3:08CV475-03-W
                                  (3:04CR255-1)


ALBERTO SANMIGUEL, JR.,             )
                                    )
      Petitioner,                   )
                                    )
                                    )
             v.                     )                MEMORANDUM AND
                                    )                    ORDER
UNITED STATES OF AMERICA,           )
                                    )
      Respondent.                   )
____________________________________)


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct sentence pursuant to 28 U.S.C. §2255 filed October 16, 2008. No response is necessary

from the Government.

                                  I. STANDARD OF REVIEW

       A prisoner in federal custody may attack his conviction and sentence on the ground that it

is in violation of the Constitution or United States law, was imposed without jurisdiction,

exceeds the maximum penalty, or is otherwise subject to collateral attack. 28 U.S. C. §2255.

However,

               [i]f it plainly appears from the face of the motion and any annexed exhibits
               and the prior proceedings in the case that the movant is not entitled to
               relief in the district court, the judge shall make an order for its summary
               dismissal and cause the movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United States District Courts.



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The Court, having reviewed the record of proceedings below, enters summary dismissal for the

reasons stated herein.

                                II. PROCEDURAL HISTORY

       On January 23, 2006, the Petitioner and five others were charged in a three-count

superseding bill of indictment with conspiracy to possess with intent to distribute 1000 kilograms

or more of marijuana in violation of 21 U.S.C. § 846; possession with intent to distribute 1000

kilograms or more of marijuana on March 6, 2003 in violation of 21 U.S.C. § 841 and 18 U.S.C.

§ 2; and possession with intent to distribute a detectable amount of marijuana on February 23,

2004 in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2. On May 16, 2006, Petitioner entered a

straight up guilty plea to the Superseding Indictment. Petitioner appeared with counsel before

the undersigned for a Plea and Rule 11 Hearing. At that hearing, the undersigned placed

Petitioner under oath and then engaged him in a lengthy colloquy to ensure that his guilty plea

was being intelligently and voluntarily tendered. The undersigned specifically asked Petitioner if

he had reviewed his indictment and if he understood the charges and its corresponding penalties.

Under oath, Petitioner stated that he had reviewed the charges with counsel and understood them,

the essential elements and the maximum penalties he was facing. (Transcript of Plea and Rule 11

Hearing 8-21.) Further the undersigned asked Petitioner if he had discussed his right to appeal

and if he understood that by pleading guilty he would be waiving his right to trial by jury and all

rights attendant thereto. Again, under oath, Petitioner stated that he understood and accepted

those limitations and wanted to plead guilty. (Id. at 26-28.)

       In response to additional questioning by the Court, Petitioner stated, under oath, that he

had taken ample time to discuss possible defenses with his attorney and had told counsel


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everything he wanted him to know about his case; that he understood that if he received a

sentence which was more severe that he expected or if the Court did not accept any sentencing

recommendations, he would still be bound by his guilty plea; that his guilty plea was voluntarily

made and was not the result of coercion, threats or promises; that he was, in fact, guilty of the

subject charge; and that he was entirely satisfied with the services of his attorney. (Id. at 23-24,

29-31.) After hearing Petitioner’s answers to each of its questions, the undersigned found that

his guilty plea was knowingly and voluntarily entered and made and that he understood the

charges, penalties and consequences of the plea. Accordingly, the Court accepted Petitioner’s

plea. (Id. at 33.)

        On February 12, 2007, Petitioner appeared before the undersigned for a factual basis and

sentencing hearing, during which he stipulated that there was a factual basis to support his guilty

plea. (Transcript of Sentencing Hearing 7-8.) In addition, the Court confirmed that counsel

reviewed the presentence report (“PSR” hereafter) with Petitioner. (Id. at 9.) Counsel affirmed

that he went over the report with Petitioner in person with the aid of an interpreter and over the

phone during a conference call also with the aid of an interpreter. (Id.) After reviewing the PSR

with counsel, Petitioner sent counsel a letter outlining his objections to the PSR. Counsel made

Petitioner’s objections known to the Court during Sentencing. Specifically, Petitioner objected

to the drug amounts in the PSR and the enhancement for his role in the conspiracy. The Court

heard testimony from Petitioner and Special Agent James Bryant. (Id. 13-35 and 35-57.) The

Court then heard argument from the attorneys. (Id. 58-64.) Petitioner’s counsel argued that the

evidence did not support an enhancement based upon Petitioner’s role as manager and the only

amount of drugs that was supported by the evidence was 31 pounds of marijuana. (Id. at 59.)


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       The Court then specifically found the testimony of Special Agent Bryant more credible

than that of Petitioner and found that the preponderance of the evidence established that

Petitioner was a leader and organizer and that the quantity involved 1000 kilograms or more of

marijuana. The Court sentenced Petitioner at the low end of the Guidelines to 151 months on

each of counts one and two and 60 months on count three, all running concurrently. (Id. at 67-8.)

       Petitioner filed a notice of appeal on February 14, 2007. On appeal, Petitioner challenged

the enhancement he received pursuant to § 3B1.1(a) of the Sentencing Guidelines. On October

11, 2007, the Fourth Circuit issued an unpublished decision affirming Petitioner’s conviction and

sentence.

       On October 14, 2008, Petitioner filed the instant Motion to Vacate challenging the

voluntariness of his plea and alleging that his counsel was ineffective because: (1) he pressured

Petitioner into pleading guilty; (2) there was no evidence to support that he was involved with

any amount of drugs; and (3) the few times counsel did visit him, he was disrespectful and

abusive in the way he spoke to Petitioner.

                                        III. DISCUSSION

       A.      Petitioner’s Claim Challenging the Voluntariness of his Plea is Barred

       In his first claim, Petitioner contends that his guilty plea was not made voluntarily or with

an understanding of the consequences of the plea. Petitioner did not raise this issue in his appeal

to the Fourth Circuit Court of Appeals. Generally, claims that could have been, but were not

raised on direct review are procedurally barred. “Habeas review is an extraordinary remedy and

will not be allowed to do service for an appeal.” Bousley v. United States, 523 U.S. 614, 621

(1998). It is well settled that collateral attacks under 28 U.S.C. § 2255 are limited to claims of


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constitutional magnitude or to errors which inherently result in a complete miscarriage of justice.

See United States v. Addonizio, 442 U.S. 178, 184-86 (1979). In order to collaterally attack a

conviction or sentence based upon errors that could have been but were not pursued on direct

appeal, a petitioner must show cause and actual prejudice resulting from the errors complained of

or that he is actually innocent.1 See United States v. Mikalajunas, 186 F.3d 490, 492, 93 (4th Cir.

1999) (citing United States v. Frady, 456 U.S. 152, 167-68 (1982)).

       Cause means some impediment. United States v. Smith, 241 F.3d 546, 548 (7th Cir.

2001). The existence of cause for procedural default must turn on something external to the

defense. Murray v. Carrier, 477 U.S. 478, 488 (1986). As set forth below, Petitioner has failed to

carry his burden of establishing cause. In order to establish “actual prejudice” the defendant

must show “not merely that the errors at his trial create[d] a possibility of prejudice, but that they

worked to his actual and substantial disadvantage, infecting his entire trial with error of

constitutional dimensions.” Frady, 456 U.S. 167-68 (1982). In this case, Petitioner has not met

his burden in establishing cause for failing to raise these claims on direct appeal. Therefore,

Petitioner’s claim regarding the voluntariness of his plea is procedurally barred.2

       B.        Petitioner’s claims of ineffective assistance of counsel are baseless.

       When alleging a claim of ineffective assistance of counsel, a petitioner must show that

counsel's performance was constitutionally deficient to the extent it fell below an objective


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           Petitioner makes no claim of actual innocence.
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         However, even if these claims were not barred, they are belied by the record which
establishes that the Court reviewed the elements of each count of the Superseding Indictment
with Petitioner. The Court then thoroughly questioned Petitioner regarding his understanding of
the rights he was waiving by pleading guilty, including his right to go to trial and all the rights
attendant thereto.

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standard of reasonableness, and that he was prejudiced thereby. Strickland v. Washington, 466

U.S. 668, 687-91 (1984). In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable professional assistance. Id. at 689; see

also Fields v. Attorney Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1992).

       To demonstrate prejudice, Petitioner must show a probability that the alleged errors

worked to his "actual and substantial disadvantage, infecting his trial with error of constitutional

dimensions." Murray v. Carrier, 477 U.S. 478, 494 (1986) (quoting Frady, supra). Under these

circumstances, Petitioner “bears the burden of proving Strickland prejudice.” Fields, 956 F.2d at

1297 (citing Hutchins, 724 F.2d at 1430-31). Therefore, if Petitioner fails to meet this burden, a

“reviewing court need not consider the performance prong.” Id. at 1290 (citing Strickland, 466

U.S. at 697).

       A petitioner who alleges ineffective assistance of counsel following the entry of a guilty

plea has an even higher burden to meet. See, Hill v. Lockhart, 474 U.S. at 53-59; Fields, supra at

1294-99; and Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988). The Fourth Circuit

described a petitioner’s additional burden in a post-guilty plea claim of ineffective assistance of

counsel as follows:

                When a [petitioner] challenges a conviction entered after a guilty

                plea, [the] “prejudice” prong of the [Strickland] test is slightly

                modified. [The petitioner] “must show that there is a reasonable

                probability that, but for counsel’s errors, he would not have plead-

                ed guilty and would have insisted on going to trial.”




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Hooper, supra at 475 (quoting Hill, supra at 59); accord Fields, supra at 1297.

       In evaluating a post-guilty plea claim of ineffective assistance of counsel, statements

previously made under oath affirming satisfaction with counsel, such as those made by Petitioner

here at the Rule 11 hearing, are binding absent “clear and convincing evidence to the contrary.”

Fields, at 1299, (citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977)); accord United States

v. Lemaster, 403 F.3d 216, 220-23 (4th Cir. 2005) (affirming summary dismissal of §2255

motion, including ineffective assistance claim, noting inconsistent statements made during Rule

11 hearing).

       By his motion, Petitioner first alleges that his counsel was ineffective because he

pressured him into pleading guilty. (Motion to Vacate at 5.) The record of Petitioner’s Plea and

Rule 11 Hearing belies Petitioner’s allegation that his counsel pressured him into pleading guilty.

Indeed, the undersigned specifically inquired of Petitioner whether “anyone connected with the

federal or state government, such as an agent of the Federal Bureau of Investigation, the State

Bureau of Investigation, the United States Attorney or any of her assistants, the US Marshal or

any of his deputies, or any other official in any manner threatened [him] or anyone [he] know[s]

or forced [him] in any way to cause [him] to plead guilty?” (Transcript of Plea and Rule 11

Hearing at 29-30.) Petitioner responded, “[n]o, your honor.” The undersigned then asked

Petitioner whether “anyone at all threatened or intimidated [him] or anyone [he] know in any way

to cause [him] to enter [his] plea of guilty?” Again, Petitioner responded, “[n]o sir, your honor.”

The Court then asked Petitioner whether “anyone made [him] any promise or assurance in an

effort to cause [him] to plead guilty?” Petitioner, once again, responded “[n]o, sir.” After a

series of questions, the Court asked Petitioner “[a]re you telling the court that your mind is clear


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and you believe you know what you are doing?” Petitioner responded in the affirmative. The

court asked Petitioner whether he had any lingering questions or comments to make about

anything involved in the case and Petitioner responded that he did not. Finally, the Court asked

Petitioner whether he had any hesitation about going forward with his guilty plea and Petitioner

again responded that he did not. (Id.30 -32.)

          A review of the Plea and Rule 11 Transcript establishes that the statements which

Petitioner made to the Court stand in stark conflict with his belated, self-serving allegation that

counsel pressured him into pleading guilty. Petitioner is bound by the statements he made at the

Plea and Rule 11 hearing and those statements cannot be set aside merely on the basis of his

post-judgment assertions to the contrary. Rather, Petitioner’s statements “constitute a formidable

barrier” to this post-judgment attack. Blackledge, 431 U.S. at 73-74. In sum, the Court finds that

Petitioner has failed to satisfy either prong of the Strickland test and, therefore, his claim of

ineffective assistance of counsel must fail.

          Next, Petitioner contends that the his counsel was ineffective because he told counsel that

he was not guilty and wanted to go to trial. This claim is closely tied to Petitioner’s claim that

his counsel pressured him into pleading guilty. Once again, the record does not support

Petitioner’s claim. In fact, the undersigned specifically asked Petitioner whether he understood

that by pleading guilty, he was giving up his right to trial by jury. Petitioner stated that he did

understand that he was waiving this right. The Court followed up and asked Petitioner whether

he was entering a guilty plea because he was, in fact, guilty of the crimes charged. Petitioner

indicated that he was guilty of the crimes charged. (Transcript of Plea and Rule 11 Hearing at

27-28.)


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       Once again, the Court finds that Petitioner has failed to satisfy either prong of the

Strickland test and, therefore, his claim of ineffective assistance of counsel must fail.

       As his last claim for relief, Petitioner contends that his counsel was ineffective because he

was disrespectful in the way he spoke to Petitioner. Even if one assumes Petitioner’s counsel

spoke to Petitioner in a disrespectful manner, such a fact does not make out a claim for

ineffective assistance of counsel. Moreover, Petitioner’s belated contention is belied by his

statement under oath at the Plea and Rule 11 Hearing that he was entirely satisfied with counsel’s

services. In any event, taking Petitioner’s allegation as true, Petitioner’s claim does not satisfy

either prong of the Strickland test and therefore must fail.

                                        IV. CONCLUSION

       The Court’s initial review of the Petitioner’s Motion to Vacate and the relevant record

evidence plainly shows that Petitioner is not entitled to relief on any of the claims contained in

his Motion to Vacate.

                                            IV. ORDER

       IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate, Set Aside or

Correct sentence pursuant 28 U.S.C. §2255 is hereby DENIED and is dismissed.


SO ORDERED.

                                                  Signed: November 3, 2008




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